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                           Exhibit 39

       Defendant Pennsylvania General
Insurance Company's Responses and Objections
to SPARTA's First Set of Requests for Admission,
          dated November 28, 2022
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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

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 SPARTA INSURANCE COMPANY                                  :
 (as successor in interest to Sparta Insurance
 Holdings, Inc.),                                          :

                           Plaintiff,                     :    Civil Action
                                                               No. 1:21-cv-11205-FDS
        v.                                                :

 PENNSYLVANIA GENERAL INSURANCE                           :
 COMPANY (now known as Pennsylvania
 Insurance Company),                                      :

                            Defendant.                     :
 --------------------------------------------------------- x

            DEFENDANT PENNSYLVANIA INSURANCE COMPANY’S
             RESPONSES AND OBJECTIONS TO PLAINTIFF SPARTA
       INSURANCE COMPANY’S FIRST SET OF REQUESTS FOR ADMISSION

        Pursuant to Federal Rules of Civil Procedure Rule 36, and Rule 36.1 of the Local Rules
of the United States District Court for the District of Massachusetts, Defendant Pennsylvania
General Insurance Company (“PGIC”) (n/k/a Pennsylvania Insurance Company), by and through
its undersigned attorneys, hereby objects and responds to Plaintiff SPARTA Insurance
Company’s (“SPARTA”) First Set of Requests for Admission as follows:

        Defendant has not completed discovery or preparation for trial in this action. The
responses contained herein are based only on such information and documents as are presently
available and specifically known to Defendant. Further discovery, legal research, and analysis
may supply additional facts, add meaning to known facts, and establish entirely new factual
conclusions and legal contentions, all of which may lead to substantial additions to, changes in,
and variations from the responses set forth herein. The following answers to discovery demands
are given without prejudice to Defendant’s right to produce evidence of any subsequently
discovered fact or facts that Defendant may later recall, or documents subsequently located by
Defendant. Defendant accordingly reserves the right to change any and all responses herein as
additional facts are ascertained, additional analysis and legal research is conducted, and any
additional contentions are made. The responses contained herein are made in a good faith effort
to supply the information presently known to Defendant based on as much factual information
and specification of legal contentions as is presently known to Defendant, but is in no way to the
prejudice of Defendant in relation to other discovery, research, or analysis.
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       These introductory comments apply to each and every answer given herein and are be
incorporated by reference as though fully set forth in all of the responses appearing in the
following pages.

      Defendant reserves all rights to amend or supplement these responses. Discovery is
ongoing.

                                  GENERAL OBJECTIONS

       Defendant generally objects to the Requests for Admissions as follows:

    1. Defendant objects to the instructions, definitions, and Requests to the extent they purport
to impose any obligations broader than, or inconsistent with, the Federal Rules of Civil
Procedure, Local Rules, or any applicable Order of this Court, regulation, or other authority.

    2. Defendant objects generally to the Requests to the extent that they are burdensome and
oppressive, in that ascertaining the information necessary to respond to them would require the
review and compilation of information from multiple locations, and voluminous records and
files, thereby involving substantial time of employees of Defendant and great expense to
Defendant, whereas the information sought to be obtained by Plaintiff would be of little use or
benefit to Plaintiff.

    3. Defendant objects generally to the Requests to the extent that they seek to elicit
information that is neither relevant nor proportional to the needs of the case, considering the
importance of the issues at stake in the action, the amount in controversy, the parties’ relative
access to relevant information, the parties’ resources, the importance of the discovery in
resolving the issues, and whether the burden or expense of the proposed discovery outweighs its
likely benefit.

   4. Defendant objects generally to the Requests to the extent that they are vague, uncertain,
and overbroad, or without limitation as to time or specific subject matter.

    5. Defendant objects generally to the Requests to the extent they seek information that was
developed in anticipation of litigation, constitutes work product, contains or reflects attorney-
client communications, or is otherwise privileged or protected from disclosure by law. To the
extent that any Request may be construed as calling for information that is protected by any
applicable privilege or protection, Defendant hereby asserts those privileges and protections and
objects to the Requests on those bases. Nothing contained herein shall be deemed a waiver of
any rights under such privileges and protections, and Defendant expressly reserves the right to
assert such privileges and protections with respect to any matter contained in response to these
Requests.

    6. Defendant objects generally to the Requests to the extent that they seek information that
Defendant does not possess or information that is already possessed by or otherwise available to
the propounding party from sources that are more convenient, less burdensome, or less
expensive.



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   7. Defendant objects generally to the Requests to the extent that they seek to have
Defendant furnish information that is a matter of the public record and that therefore is equally
available to Plaintiff as to Defendant.

   8. Defendant objects generally to the Requests to the extent that they are unreasonably
duplicative or cumulative and objects to each Request to the extent that it is duplicative or
cumulative of other Requests.

    9. Defendant objects to these Requests to the extent they assume disputed facts or legal
conclusions or may be construed as an admission by Defendant that any fact or circumstance
alleged in, or suggested by, the Requests actually occurred or existed. Defendant hereby denies
any such disputed facts or legal conclusions

    10. Defendant objects generally to the Requests to the extent that they seek to have
Defendant furnish information that is proprietary to Defendant and contains confidential
information.

     11. Any responses to these Requests provided by Defendant are solely for the purpose of this
litigation. Any attempt by Plaintiff or any other person or entity to use or disseminate the
Responses, the information contained in the Responses, or the documents produced in this
litigation beyond this litigation is objected to as improper and will be subject to appropriate
action.

    12. Nothing in these Responses should be construed as waiving any rights or objections that
might be available to Defendant; nor should Defendant’s Response to any Request be deemed an
admission of relevancy, materiality, or admissibility concerning any information. Defendant
reserves its right to object on any ground to the use of any of its Responses to any of the
Requests or to the pursuit of discovery or introduction of evidence on any subject matter
addressed in any of the Requests at any subsequent time, including the trial of this action.

   13. Defendant reserves the right to, at any time, supplement, clarify, or otherwise amend its
Responses and Objections.

   14. Defendant expressly incorporates each of the foregoing General Objections into each
specific response to the Requests set forth below as if set forth in full therein. An answer to a
request is not intended to be a waiver of any applicable specific or general objection to such
request.

                 OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

   1. Defendant incorporates by reference the objections set forth in Defendant’s October 21,
2022 Responses and Objections to SPARTA’s First Request for the Production Of Documents to
Defendant Pennsylvania General Insurance Company, dated September 21, 2022.

          RESPONSES AND OBJECTIONS TO REQUESTS FOR ADMISSION

        Notwithstanding and without waiving any of its General Objections and Objections to
Instructions, which are incorporated into each of the specific responses below as though set forth


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in full, Defendant responds as follows:

REQUEST FOR ADMISSION NO. 1:

        Admit that PGIC and AEIC entered into the Reinsurance Agreement on June 15, 2005, a
true and correct copy of which is attached as Exhibit A.

RESPONSE TO REQUEST FOR ADMISSION NO. 1:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant admits that, based on documents currently
available to it, Roger M. Singer purported to enter the Reinsurance Agreement on behalf of both
PGIC and AEIC, and the document Plaintiff has attached as Exhibit A identifies June 15, 2005 as
the date of execution. Defendant otherwise lacks sufficient knowledge to admit or deny this
Request.

REQUEST FOR ADMISSION NO. 2:

       Admit that PGIC signed the Reinsurance Agreement, a true and correct copy of which is
attached as Exhibit A.

RESPONSE TO REQUEST FOR ADMISSION NO. 2:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below.

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant admits that, based on documents currently
available to it, Roger M. Singer purported to sign the Reinsurance Agreement on behalf of PGIC.
Defendant otherwise lacks sufficient knowledge to admit or deny this Request.

REQUEST FOR ADMISSION NO. 3:

      Admit that PGIC and AEIC, with OneBeacon as the Guarantor, entered into the SPA on
March 12, 2007, a true and correct copy of which is attached as Exhibit B.

RESPONSE TO REQUEST FOR ADMISSION NO. 3:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant further objects that the phrase “OneBeacon as the
Guarantor” is vague and undefined and inaccurate to the extent it is intended to suggest that
OneBeacon is not a party to or did not enter into the SPA.

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny



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whether PGIC entered into the SPA on March 12, 2007, or whether Exhibit B is a true and
correct copy of any such SPA, except that Defendant admits that SPARTA has produced a copy
of what it has identified as the SPA, and that document includes a signature that purports to be
that of Michael T. Miller purporting to execute the SPA on behalf of PGIC and OBIC.
Defendant also specifically denies based on the face of the document identified as the SPA that
AEIC was a party.

REQUEST FOR ADMISSION NO. 4:

       Admit that PGIC signed the SPA, a true and correct copy of which is attached as Exhibit
B.

RESPONSE TO REQUEST FOR ADMISSION NO. 4:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny
whether PGIC signed the SPA, or whether Exhibit B is a true and correct copy of any such SPA,
except that Defendant admits that SPARTA has produced a copy of what it has identified as the
SPA, and that document includes a signature that purports to be that of Michael T. Miller
purporting to execute the SPA on behalf of PGIC and OBIC.

REQUEST FOR ADMISSION NO. 5:

     Admit that SPARTA did not provide written consent to the 2012 Transfer and
Assumption Agreement entered into between OneBeacon and PGIC.

RESPONSE TO REQUEST FOR ADMISSION NO. 5:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant objects to this Request because the phrase “did not
provide written consent” is vague, ambiguous, and undefined.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry, including because the information on which
a response would be based is in the exclusive possession of SPARTA and third parties and
discovery is ongoing.

REQUEST FOR ADMISSION NO. 6:

      Admit that SPARTA did not provide oral consent to the 2012 Transfer and Assumption
Agreement entered into between OneBeacon and PGIC.




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RESPONSE TO REQUEST FOR ADMISSION NO. 6:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant objects to this Request because the phrase “did not
provide oral consent” is vague, ambiguous, and undefined.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: To the extent that oral consent is defined to include express
verbal communications of consent, Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry, including because the information on which
a response would be based is in the exclusive possession of SPARTA and third parties and
discovery is ongoing. To the extent oral consent is defined to include any implicit form of
consent, Defendant denies the Request. Defendant will supplement this response with any
additional information that becomes available during discovery.

REQUEST FOR ADMISSION NO. 7:

       Admit that SPARTA was not a party to the 2012 Transfer and Assumption Agreement
entered into between OneBeacon and PGIC.

RESPONSE TO REQUEST FOR ADMISSION NO. 7:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant objects to this Request because the phrase “party”
is vague, ambiguous, and undefined.

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant admits that SPARTA was not an identified
signatory party to the 2012 Transfer and Assumption Agreement.

REQUEST FOR ADMISSION NO. 8:

      Admit that SPARTA did not provide written consent to the 2012 Stock Purchase
Agreement between OneBeacon and North American Casualty Co.

RESPONSE TO REQUEST FOR ADMISSION NO. 8:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant objects to this Request because the phrase “did not
provide written consent” is vague, ambiguous, and undefined.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry as to any written consent between SPARTA
and OneBeacon Insurance Group because such information is in the exclusive possession of
SPARTA and third parties and discovery is ongoing.




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REQUEST FOR ADMISSION NO. 9:

      Admit that SPARTA did not provide oral consent to the 2012 Stock Purchase Agreement
between OneBeacon and North American Casualty Co.

RESPONSE TO REQUEST FOR ADMISSION NO. 9:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant objects to this Request because the phrase “did not
provide oral consent” is vague, ambiguous, and undefined.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: To the extent that oral consent is defined to include express
verbal communications of consent, Defendant lacks sufficient knowledge to admit or deny the
assertions in Request No. 9 as to any express oral consent between SPARTA and OneBeacon
Insurance Group despite reasonable inquiry because such information is in the exclusive
possession of SPARTA and third parties and discovery is ongoing. To the extent oral consent is
defined to include any implicit form of consent, Defendant denies the Request. Defendant will
supplement this response with any additional information that becomes available during
discovery.

REQUEST FOR ADMISSION NO. 10:

      Admit that SPARTA was not a party to the 2012 Stock Purchase Agreement between
OneBeacon and North American Casualty Co.

RESPONSE TO REQUEST FOR ADMISSION NO. 10:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant objects to this Request because the phrase “party”
is vague, ambiguous, and undefined.

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant admits that SPARTA was not listed as a
signatory party to the 2012 Stock Purchase Agreement.

REQUEST FOR ADMISSION NO. 11:

        Admit that the claims listed in the document attached as Exhibit C were made against
policies included in the Retained Business as defined in the Reinsurance Agreement.

RESPONSE TO REQUEST FOR ADMISSION NO. 11:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant also objects to this Request as vague, ambiguous,
and unintelligible, including on the basis that Exhibit C appears to be a document created by
Plaintiff or its parent with limited information about any underlying claims it purports to
catalogue.


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        Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately seven years after the Reinsurance
Agreement referenced in this Request was dated. As a result, Defendant does not have historical
American Employers’ Insurance Company (“AEIC”) records or records indicating which
policies, if any, fell into the category of “Retained Business” as it is defined in the Reinsurance
Agreement. Thus, Defendant does not have sufficient information to respond to this Request.
Defendant also objects to this Request insofar as the admission or denial it requests is not
relevant or proportional to the needs of the case. Plaintiff’s amended complaint does not identify
specific claims for which it is seeking indemnity, nor has it complied with contractual
prerequisites for seeking indemnity as to any claims, much less all of the claims, in Exhibit C.
Plaintiff even has repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a
dispute over individual claims…[t]his dispute is not about specific claims, no matter how many
times PGIC suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s
categorical refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued
position as well as its failure to seek relief for these claims in the amended complaint or comply
with contractual prerequisites for seeking indemnification, a request for admission asking
Defendant to review thousands of specific claims that are not identified in the complaint and for
which it has not complied with contractual prerequisites for seeking indemnification is not
relevant or reasonably calculated to lead to the discovery of admissible evidence and is likewise
disproportionate to the needs of the case. Defendant further objects that the Request by itself
exceeds the number of requests for admission permitted by the Local Rules inasmuch as it
requests Defendant’s position concerning thousands of separate claims.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry.

REQUEST FOR ADMISSION NO. 12:

      Admit that at least one of the claims listed in the documents attached as Exhibit C, was
made against a policy included in the Retained Business as defined in the Reinsurance
Agreement.

RESPONSE TO REQUEST FOR ADMISSION NO. 12:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant also objects to this Request as vague, ambiguous,
and unintelligible, including on the basis that Exhibit C appears to be a document created by
Plaintiff or its parent with limited information about any underlying claims it purports to
catalogue.

       Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately seven years after the Reinsurance
Agreement referenced in this Request was dated. As a result, Defendant does not have AEIC
records or records indicating which policies, if any, fell into the category of “Retained Business”


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as it is defined in the Reinsurance Agreement. Thus, Defendant does not have sufficient
information to respond to this Request. Defendant also objects to this Request insofar as the
admission or denial it requests is not relevant or proportional to the needs of the case. Plaintiff’s
amended complaint does not identify specific claims for which it is seeking indemnity, nor has it
complied with contractual prerequisites for seeking indemnity as to any claims, much less all of
the claims, in Exhibit C. Plaintiff has even repeatedly asserted that Defendant
“mischaracterize[d] the present dispute as a dispute over individual claims…[t]his dispute is not
about specific claims, no matter how many times PGIC suggests that it is.” Dkt. 79, at 2. See
also id. (“Again, this case is about PGIC’s categorical refusal to pay anything—not about
particular claims.”). Given Plaintiff’s continued position as well as its failure to seek relief for
these claims in the complaint or comply with contractual prerequisites for seeking
indemnification, a request for admission asking Defendant to potentially review thousands of
specific claims that are not identified in the amended complaint and for which it has not
complied with contractual prerequisites for seeking indemnification is not relevant or reasonably
calculated to lead to the discovery of admissible evidence and is likewise disproportionate to the
needs of the case.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry.

REQUEST FOR ADMISSION NO. 13:

        Admit that as of the date of your response, you have no facts or evidence to dispute that
the claims listed in the documents attached as Exhibit C, were made against policies included in
the Retained Business as defined in the Reinsurance Agreement.

RESPONSE TO REQUEST FOR ADMISSION NO. 13:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant also objects to this Request as vague, ambiguous,
and unintelligible, including on the basis that Exhibit C appears to be a document created by
Plaintiff or its parent with limited information about any underlying claims it purports to
catalogue.

        Defendant also objects to this Request insofar as the admission or denial it requests is not
relevant or proportional to the needs of the case. Plaintiff’s amended complaint does not identify
specific claims for which it is seeking indemnity, nor has it complied with contractual
prerequisites for seeking indemnity as to any claims, much less, all of the claims in Exhibit C.
Plaintiff has even repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a
dispute over individual claims…[t]his dispute is not about specific claims, no matter how many
times PGIC suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s
categorical refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued
position as well as its failure to seek relief for these claims in the amended complaint or comply
with contractual prerequisites for seeking indemnification, a request for admission asking
Defendant to review thousands of specific claims that are not identified in the amended
complaint and for which it has not complied with contractual prerequisites for seeking


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indemnification is not relevant or reasonably calculated to lead to the discovery of admissible
evidence and is likewise disproportionate to the needs of the case. Defendant further objects that
the Request by itself exceeds the number of requests for admission permitted by the Local Rules
inasmuch as it requests Defendant’s position concerning thousands of separate claims.

         Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant admits that it lacks sufficient information to
identify which, if any policies, fall within the definition of Retained Business as defined in the
Reinsurance Agreement. Defendant denies that it has no evidence at all that is potentially
relevant but not sufficient to that question in as much as Exhibit C at a minimum contains
Plaintiff’s representation as to states where purported claims were made and other information
that is relevant but not sufficient.

REQUEST FOR ADMISSION NO. 14:

        Admit that the claims listed in the documents attached as Exhibit C were made against
policies included in the assets of AEIC as of the Effective Date and Time as defined by Section 4
of the Reinsurance Agreement.

RESPONSE TO REQUEST FOR ADMISSION NO. 14:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant also objects to this Request as vague, ambiguous,
and unintelligible, including on the basis that Exhibit C appears to be a document created by
Plaintiff or its parent with limited information about any underlying claims it purports to
catalogue.

        Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately seven years after the Reinsurance
Agreement referenced in this Request was dated. As a result, Defendant does not have historical
AEIC records or records indicating which policies, if any, were considered “assets of AEIC” as
of the Effective Date and Time as it is defined in Section 4 of the Reinsurance Agreement. Thus,
Defendant does not have sufficient information to respond to this Request. Defendant also
objects to this Request insofar as the admission or denial it requests is not relevant or
proportional to the needs of the case. Plaintiff’s amended complaint does not identify specific
claims for which it is seeking indemnity, nor has it complied with contractual prerequisites for
seeking indemnity as to any claims, much less all of the claims, in Exhibit C. Plaintiff has even
repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a dispute over
individual claims…[t]his dispute is not about specific claims, no matter how many times PGIC
suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s categorical
refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued position as
well as its failure to seek relief for these claims in the amended complaint or comply with
contractual prerequisites for seeking indemnification, a request for admission asking Defendant
to review thousands of specific claims that are not identified in the amended complaint and for
which it has not complied with contractual prerequisites for seeking indemnification is not
relevant or reasonably calculated to lead to the discovery of admissible evidence and is likewise


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disproportionate to the needs of the case. Defendant further objects that the Request by itself
exceeds the number of requests for admission permitted by the Local Rules inasmuch as it
requests Defendant’s position concerning thousands of separate claims.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry.

REQUEST FOR ADMISSION NO. 15:

       Admit that at least one of the claims listed in the documents attached as Exhibit C, were
made against policies included in the assets of AEIC as of the Effective Date and Time as
defined by Section 4 of the Reinsurance Agreement.

RESPONSE TO REQUEST FOR ADMISSION NO. 15:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant also objects to this Request as vague, ambiguous,
and unintelligible, including on the basis that Exhibit C appears to be a document created by
Plaintiff or its parent with limited information about any underlying claims it purports to
catalogue.

        Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately seven years after the Reinsurance
Agreement referenced in this Request was dated. As a result, Defendant does not have historical
AEIC records or records indicating which policies, if any, were considered “assets of AEIC” as
of the Effective Date and Time as it is defined in Section 4 of the Reinsurance Agreement. Thus,
Defendant does not have sufficient information to respond to this Request. Defendant also
objects to this Request insofar as the admission or denial it requests is not relevant or
proportional to the needs of the case. Plaintiff’s amended complaint does not identify specific
claims for which it is seeking indemnity, nor has it complied with contractual prerequisites for
seeking indemnity as to any claims, much less all of the claims, in Exhibit C. Plaintiff has even
repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a dispute over
individual claims…[t]his dispute is not about specific claims, no matter how many times PGIC
suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s categorical
refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued position as
well as its failure to seek relief for these claims in the amended complaint or comply with
contractual prerequisites for seeking indemnification, a request for admission asking Defendant
to potentially review thousands of specific claims that are not identified in the amended
complaint and for which it has not complied with contractual prerequisites for seeking
indemnification is not relevant or reasonably calculated to lead to the discovery of admissible
evidence and is likewise disproportionate to the needs of the case.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry.



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REQUEST FOR ADMISSION NO. 16:

        Admit that as of the date of your response, you have no facts or evidence to dispute that
the claims listed in the documents attached as Exhibit C, were made against policies included in
the assets of AEIC as of the Effective Date and Time as defined by Section 4 of the Reinsurance
Agreement.

RESPONSE TO REQUEST FOR ADMISSION NO. 16:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant also objects to this Request as vague, ambiguous,
and unintelligible, including on the basis that Exhibit C appears to be a document created by
Plaintiff or its parent with limited information about any underlying claims it purports to
catalogue.

        Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately seven years after the Reinsurance
Agreement referenced in this Request was dated. As a result, Defendant does not have historical
AEIC records or records indicating which policies, if any, were considered “assets of AEIC” as
of the Effective Date and Time as it is defined in Section 4 of the Reinsurance Agreement. Thus,
Defendant does not have sufficient information to respond to this Request. Defendant also
objects to this Request insofar as the admission or denial it requests is not relevant or
proportional to the needs of the case. Plaintiff’s amended complaint does not identify specific
claims for which it is seeking indemnity, nor has it complied with contractual prerequisites for
seeking indemnity as to any claims, much less all of the claims, in Exhibit C. Plaintiff has even
repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a dispute over
individual claims…[t]his dispute is not about specific claims, no matter how many times PGIC
suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s categorical
refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued position as
well as its failure to seek relief for these claims in the amended complaint or comply with
contractual prerequisites for seeking indemnification, a request for admission asking Defendant
to review thousands of specific claims that are not identified in the amended complaint and for
which it has not complied with contractual prerequisites for seeking indemnification is not
relevant or reasonably calculated to lead to the discovery of admissible evidence and is likewise
disproportionate to the needs of the case. Defendant further objects that the Request by itself
exceeds the number of requests for admission permitted by the Local Rules inasmuch as it
requests Defendant’s position concerning thousands of separate claims.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant admits that it lacks sufficient information to
identify which, if any policies, fall within the AEIC assets, as defined by Section 4 of the
Reinsurance Agreement. Defendant denies that it has no evidence at all that is relevant to that
question, including in as much as Exhibit C at a minimum contains Plaintiff’s representation as
to states where purported claims were made and other information that is relevant but not
sufficient.



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REQUEST FOR ADMISSION NO. 17:

        Admit that the claim payments paid by SPARTA listed on pages 2 through 211 of the
document attached as Exhibit D are Losses arising out of or resulting from Claims as those terms
are defined by the SPA.

RESPONSE TO REQUEST FOR ADMISSION NO. 17:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant also objects to this Request as vague, ambiguous,
and unintelligible, including on the basis that Exhibit D appears to be a document created by
Plaintiff or its parent with limited information about any underlying claims it purports to
catalogue.

        Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately five years after the SPA referenced in
this Request was dated. As a result, Defendant does not have historical AEIC records or records
indicating what constituted “Claims” or “Losses” as those terms are defined by the SPA. Thus,
Defendant does not have sufficient information to respond to this Request. Defendant also
objects to this Request insofar as the admission or denial it requests is not relevant or
proportional to the needs of the case. Plaintiff’s amended complaint does not identify specific
claims for which it is seeking indemnity, nor has it complied with contractual prerequisites for
seeking indemnity as to any claims, much less all of the claims, in Exhibit D. Plaintiff has even
repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a dispute over
individual claims…[t]his dispute is not about specific claims, no matter how many times PGIC
suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s categorical
refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued position as
well as its failure to seek relief for these claims in the amended complaint or comply with
contractual prerequisites for seeking indemnification, a request for admission asking Defendant
to review thousands of specific claims that are not identified in the amended complaint and for
which it has not complied with contractual prerequisites for seeking indemnification is not
relevant or reasonably calculated to lead to the discovery of admissible evidence and is likewise
disproportionate to the needs of the case. Defendant further objects that the Request by itself
exceeds the number of requests for admission permitted by the Local Rules inasmuch as it
requests Defendant’s position concerning thousands of separate claims.

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant denies this Request.

REQUEST FOR ADMISSION NO. 18:

        Admit that as of the date of your response, you have no facts or evidence to dispute that
the claim payments paid by SPARTA listed on pages 2 through 211 of the document attached as
Exhibit D are Losses arising out of or resulting from Claims as those terms are defined by the
SPA.




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RESPONSE TO REQUEST FOR ADMISSION NO. 18:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant further objects to this Request because it is vague,
ambiguous, and unintelligible, including on the basis that Exhibit D appears to be a document
created by Plaintiff or its parent with limited information about any underlying claims it purports
to catalogue.

        Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately five years after the SPA referenced in
this Request was dated. As a result, Defendant does not have historical AEIC records or records
indicating what constituted “Claims” or “Losses” as those terms are defined by the SPA. Thus,
Defendant does not have sufficient information to respond to this Request. Defendant also
objects to this Request insofar as the admission or denial it requests is not relevant or
proportional to the needs of the case. Plaintiff’s amended complaint does not identify specific
claims for which it is seeking indemnity, nor has it complied with contractual prerequisites for
seeking indemnity as to any claims, much less all of the claims, in Exhibit D. Plaintiff has even
repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a dispute over
individual claims…[t]his dispute is not about specific claims, no matter how many times PGIC
suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s categorical
refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued position as
well as its failure to seek relief for these claims in the amended complaint or comply with
contractual prerequisites for seeking indemnification, a request for admission asking Defendant
to review thousands of specific claims that are not identified in the amended complaint and for
which it has not complied with contractual prerequisites for seeking indemnification is not
relevant or reasonably calculated to lead to the discovery of admissible evidence and is likewise
disproportionate to the needs of the case. Defendant further objects that the Request by itself
exceeds the number of requests for admission permitted by the Local Rules inasmuch as it
requests Defendant’s position concerning thousands of separate claims.

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant denies the Request.

REQUEST FOR ADMISSION NO. 19:

        Admit that the legal fees and expenses paid by SPARTA listed on pages 212 through 214
of the document attached as Exhibit D are Losses arising out of or resulting from Claims as those
terms are defined by the SPA.

RESPONSE TO REQUEST FOR ADMISSION NO. 19:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant also objects to this Request because it is vague,
ambiguous, and unintelligible, including on the basis that Exhibit D appears to be a document
created by Plaintiff or its parent with limited information about any underlying claims it purports
to catalogue.



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        Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately five years after the SPA referenced in
this Request was dated. As a result, Defendant does not have historical AEIC records or records
indicating what constituted “Claims” or “Losses” as those terms are defined by the SPA. Thus,
Defendant does not have sufficient information to respond to this Request. Defendant also
objects to this Request insofar as the admission or denial it requests is not relevant or
proportional to the needs of the case. Plaintiff’s amended complaint does not identify specific
claims for which it is seeking indemnity, nor has it complied with contractual prerequisites for
seeking indemnity as to any claims, much less all of the claims, in Exhibit D. Plaintiff has even
repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a dispute over
individual claims…[t]his dispute is not about specific claims, no matter how many times PGIC
suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s categorical
refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued position as
well as its failure to seek relief for these claims in the amended complaint or comply with
contractual prerequisites for seeking indemnification, a request for admission asking Defendant
to review thousands of specific claims that are not identified in the amended complaint and for
which it has not complied with contractual prerequisites for seeking indemnification is not
relevant or reasonably calculated to lead to the discovery of admissible evidence and is likewise
disproportionate to the needs of the case. Defendant further objects that the Request by itself
exceeds the number of requests for admission permitted by the Local Rules inasmuch as it
requests Defendant’s position concerning various separate asserted legal expenditures that well
exceed the number of requests for admission permitted by the Local Rules

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant denies the Request.

REQUEST FOR ADMISSION NO. 20:

        Admit that as of the date of your response, you have no facts or evidence to dispute that
the legal fees and expenses paid by SPARTA listed on pages 212 through 214 of the document
attached as Exhibit D are Losses arising out of or resulting from Claims as those terms are
defined by the SPA.

RESPONSE TO REQUEST FOR ADMISSION NO. 20:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant further objects to this Request because it is vague,
ambiguous, and unintelligible, including on the basis that Exhibit D appears to be a document
created by Plaintiff or its parent with limited information about any underlying claims it purports
to catalogue.

        Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately five years after the SPA referenced in
this Request was dated. As a result, Defendant does not have historical AEIC records or records
indicating what constituted “Claims” or “Losses” as those terms are defined by the SPA. Thus,


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Defendant does not have sufficient information to respond to this Request. Defendant also
objects to this Request insofar as the admission or denial it requests is not relevant or
proportional to the needs of the case. Plaintiff’s amended complaint does not identify specific
claims for which it is seeking indemnity, nor has it complied with contractual prerequisites for
seeking indemnity as to any claims, much less all of the claims, in Exhibit D. Plaintiff has even
repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a dispute over
individual claims…[t]his dispute is not about specific claims, no matter how many times PGIC
suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s categorical
refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued position as
well as its failure to seek relief for these claims in the amended complaint or comply with
contractual prerequisites for seeking indemnification, a request for admission asking Defendant
to review thousands of specific claims that are not identified in the amended complaint and for
which it has not complied with contractual prerequisites for seeking indemnification is not
relevant or reasonably calculated to lead to the discovery of admissible evidence and is likewise
disproportionate to the needs of the case. Defendant further objects that the Request by itself
exceeds the number of requests for admission permitted by the Local Rules inasmuch as it
requests Defendant’s position concerning thousands of separate claims.

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant denies the Request.

REQUEST FOR ADMISSION NO. 21:

       Admit that the payments to TPAs listed on page 215 of the document attached as Exhibit
D are Losses arising out of or resulting from Claims as those terms are defined by the SPA.

RESPONSE TO REQUEST FOR ADMISSION NO. 21:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant further objects to this Request because it is vague,
ambiguous, and unintelligible, including on the basis that Exhibit D appears to be a document
created by Plaintiff or its parent with limited information about any underlying claims it purports
to catalogue.

        Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately five years after the SPA referenced in
this Request was dated. As a result, Defendant does not have historical AEIC records or records
indicating what constituted “Claims” or “Losses” as those terms are defined by the SPA. Thus,
Defendant does not have sufficient information to respond to this Request. Defendant also
objects to this Request insofar as the admission or denial it requests is not relevant or
proportional to the needs of the case. Plaintiff’s amended complaint does not identify specific
claims for which it is seeking indemnity, nor has it complied with contractual prerequisites for
seeking indemnity as to any claims, much less all of the claims, in Exhibit D. Plaintiff has even
repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a dispute over
individual claims…[t]his dispute is not about specific claims, no matter how many times PGIC
suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s categorical


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refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued position as
well as its failure to seek relief for these claims in the amended complaint or comply with
contractual prerequisites for seeking indemnification, a request for admission asking Defendant
to review thousands of specific claims that are not identified in the amended complaint and for
which it has not complied with contractual prerequisites for seeking indemnification is not
relevant or reasonably calculated to lead to the discovery of admissible evidence and is likewise
disproportionate to the needs of the case. Defendant further objects that the Request by itself
exceeds the number of requests for admission permitted by the Local Rules inasmuch as it
requests Defendant’s position concerning thousands of separate claims.

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant denies the Request.

REQUEST FOR ADMISSION NO. 22:

        Admit that as of the date of your response, you have no facts or evidence to dispute that
the payments to TPAs listed on page 215 of the document attached as Exhibit D are Losses
arising out of or resulting from Claims as those terms are defined by the SPA.

RESPONSE TO REQUEST FOR ADMISSION NO. 22:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant further objects to this Request because it is vague,
ambiguous, and unintelligible, including on the basis that Exhibit D appears to be a document
created by Plaintiff or its parent with limited information about any underlying claims it purports
to catalogue.

        Defendant further objects that the information, if any, that would provide a basis to
respond to this Request is currently in the exclusive possession of SPARTA or third parties.
Defendant was purchased as a clean shell approximately five years after the SPA referenced in
this Request was dated. As a result, Defendant does not have historical AEIC records or records
indicating what constituted “Claims” or “Losses” as those terms are defined by the SPA. Thus,
Defendant does not have sufficient information to respond to this Request. Defendant also
objects to this Request insofar as the admission or denial it requests is not relevant or
proportional to the needs of the case. Plaintiff’s amended complaint does not identify specific
claims for which it is seeking indemnity, nor has it complied with contractual prerequisites for
seeking indemnity as to any claims, much less all of the claims, in Exhibit D. Plaintiff has even
repeatedly asserted that Defendant “mischaracterize[d] the present dispute as a dispute over
individual claims…[t]his dispute is not about specific claims, no matter how many times PGIC
suggests that it is.” Dkt. 79, at 2. See also id. (“Again, this case is about PGIC’s categorical
refusal to pay anything—not about particular claims.”). Given Plaintiff’s continued position as
well as its failure to seek relief for these claims in the amended complaint or comply with
contractual prerequisites for seeking indemnification, a request for admission asking Defendant
to review thousands of specific claims that are not identified in the amended complaint and for
which it has not complied with contractual prerequisites for seeking indemnification is not
relevant or reasonably calculated to lead to the discovery of admissible evidence and is likewise
disproportionate to the needs of the case. Defendant further objects that the Request by itself


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exceeds the number of requests for admission permitted by the Local Rules inasmuch as it
requests Defendant’s position concerning thousands of separate claims.

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant denies the Request.



Dated: November 28, 2022                              By:    /s/ Samuel C. Kaplan
                                                             Samuel C. Kaplan

                                                      Samuel C. Kaplan (admitted pro hac vice)
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                                                      Counsel for Defendant Pennsylvania General
                                                      Insurance Company




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                                CERTIFICATE OF SERVICE

       I, Lorraine France-Gorn, declare:

       I am a citizen of the United States and employed in the City and County of San
Francisco, CA. I am over the age of 18 and not a party to the within action; my business address
is 44 Montgomery Street, 41st Floor, San Francisco, CA 94104.

       On November 28, 2022, I served the following document(s) described as:

       DEFENDANT PENNSYLVANIA INSURANCE COMPANY’S RESPONSES AND
       OBJECTIONS TO PLAINTIFF SPARTA INSURANCE COMPANY’S
       FIRST SET OF REQUESTS FOR ADMISSION

BY ELECTRONIC MAIL TRANSMISSION: By electronic mail transmission from lfrance-
gorn@bsfllp.com by transmitting a PDF format copy of such document(s) to each such person at
the e-mail address(es) listed below. The document(s) was/were transmitted by electronic
transmission and such transmission was reported as complete and without error.

       James R. Carroll
       Christopher G. Clark
       SKADDEN, ARPS, SLATE,
       MEAGHER & FLOM LLP
       500 Boylston Street
       Boston, Massachusetts 02116
       (617) 573-4800
       james.carroll@skadden.com
       christopher.clark@skadden.com

       Counsel for Plaintiff
       SPARTA Insurance Company

        I declare that I am employed in the office of a member of the bar of this Court at whose
direction the service was made.

       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

       Executed on November 28, 2022, at San Francisco, California.


                                                      /s/ Lorraine France-Gorn
                                                      Lorraine France-Gorn




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